                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                           DOCKET NO. 3:16-cr-00074-MOC-DSC

 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                                                  )
 v.                                               )                       ORDER
                                                  )
 JERITON LAVAR CURRY,                             )
                                                  )
                  Defendant.                      )



        THIS MATTER is before the court on defendant’s pro se Letter (#258).                       Having

considered defendant’s Letter and reviewed the pleadings, the court enters the following Order.

        The court takes notice of defendant Curry’s repeated pro se Motions filed while he is

represented by counsel, which have been denied without prejudice pursuant to L.Cr.R. 47.1(H).

Counsel is strongly advised to inform the defendant about the proper filing of documents, and the

Fifth Amendment hazards of making such filings. Defendant is advised to consult with his

attorney, who may make Motions on defendant’s behalf and protect his Fifth Amendment

privilege.

        In this Letter (#258), the defendant wishes to obtain services of another attorney and release

Mr. Wright, his third attorney in this matter. Defendant has previously filed similar Motions, such

as (#220), which was heard before Magistrate Judge Cayer. In the resulting Order (#222),

Magistrate Judge Cayer wrote:

        “’Because the right to choose counsel is not absolute, it necessarily follows that a
        defendant does not have an absolute right to substitution of counsel. As a general rule,
        a defendant must show good cause in requesting a new appointed lawyer.’ United
        States v. Mullen, 32 F.3d 891, 895 (4th Cir. 1994). The Court finds that Defendant’s
        complaints here do not establish good cause for the Court to appoint new counsel. This




      Case 3:16-cr-00074-MOC-SCR            Document 261         Filed 08/08/17       Page 1 of 2
                         Court is not inclined to appoint a fourth lawyer to represent Defendant on the eve of
                         sentencing. Based upon the foregoing, the Court finds that Defendant is not seeking to
                         proceed pro se and that Mr. Wright should remain as appointed counsel.”


              (#222) at 2. In the current Letter (#258), Mr. Curry states that he does not want to proceed pro se.

              (#258) at 2. Accordingly, Mr. Wright will remain as Mr. Curry’s counsel as good cause has not

              been shown.

                                                             ORDER

                         IT IS, THEREFORE, ORDERED that to the extent that defendant’s pro se Letter (#258)

              requests relief, such relief is DENIED.

Signed: August 8, 2017




                  Case 3:16-cr-00074-MOC-SCR                Document 261         Filed 08/08/17      Page 2 of 2
